Case 1:18-cv-02185-JGK-DCF Document 96 Filed 05/13/19 Page 1 of 2

 

 

 

 
   

 

 

 

 

 

UNITED STATES DISTRICT COURT —
SOUTHERN DISTRICT OF NEW YORK USDS SDNY ce
DOCUMENT
EASTERN PROFIT CORPORATION LIMITED, ELECTRONIC ALLY FILED .
Plaintiff, DOC #: |
DATE FILED: S734.
- against - a

STRATEGIC VISION US LLC,

Defendant. 18-ev-2185 {JGK)

 

STRATEGIC VISION US LLC, Order
Counter Claimant,
- against -
GUO WENGUIL,
Third-Party Defendant,
- and -
EASTERN PROFIT CORPORATION LIMITED,

Counterclaim Defendant,

 

JOHN G. KOELTL, District Judge:

For the reasons explained at today’s hearing, Guo Wengui’s
motion to dismiss the third-party claims against him is granted.
The claims are dismissed without prejudice. The Clerk is
directed to close docket numbers 65 and 92.

The plaintiff has filed a second amended complaint. That
complaint is deemed filed. The defendant must answer or move to

dismiss the second amended complaint by June 14, 2019. If the

 
Case 1:18-cv-02185-JGK-DCF Document 96 Filed 05/13/19 Page 2 of 2

defendant moves to dismiss, the plaintiff may respond by July 8,
2019. The defendant may reply by July 19, 2019.
SO ORDERED.

Dated: New York, New York

May 13, 2019 OE Ae:

_“-~ John G. Koeitli
United States District Judge

 

 
